:04-cr- 1-MGC Document 1373 Entered on FLSD Docket 05/05/20
Case 0:04-cr-6000 G FILED by De.

 

MAY 05 2008

UNITED STATES DISTRICT COURT STEVEN M. LARIMORE
SOUTHERN DISTRICT OF FLORIDA CLERKU. S. DIST. CT.
MIAMI DIVISION SD. of FLA. =

CASE 04~-60001—CR—COOKE A <<
Yo J *

THE UNITED STATES OF AMERICA,

 

 

Plaintiff,

vs. MIAMI, FLORIDA
JANUARY 22, 2008

TUESDAY — 11:00 A.M.
ADHAM AMIN HASSOUN,

KIFAH WAEL JAYYOUSI,

JOSE PADILLA,
a/k/a "Ibrahim, "'
a/k/a “Abu Abdullah the Puerto Rican",
a/k/a "Abu Abdullah Al Mujahir",

Defendants.

 

TRANSCRIPT OF SENTENCING PROCEEDINGS
BEFORE THE HONORABLE MARCIA G. COOKE,
UNITED STATES DISTRICT JUDGE

DAY 9

APPEARANCES:
FOR THE GOVERNMENT:

RUSSELL KILLINGER, A.U.S.A.
BRIAN K. FRAZIER, A.U.S.A.

JOHN SHIPLEY, A.U.S.A.
STEPHANIE PELL, A.U.S.A.

United States Attorney's Office
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

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JUDGE IS CHAMBERED

CASE NO. 04-60001-CR
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